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                          UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO


CORY CLIFTON, an individual,                   Case No.     1:18-cv-00398

        Plaintiff,

vs.                                                          COMPLAINT

THE AMALGAMATED SUGAR
COMPANY, LLC, an Idaho limited liability
company,
                                               Category: 1.
       Defendant.                              Filing Fee: $400.00



       COMES NOW the Plaintiff, CORY CLIFTON (“Clifton”), by and through his attorney
of record, THEODORE R. LARSEN, of the firm Williams, Meservy & Lothspeich, LLP, and
for a cause of action against the Defendant, THE AMALGAMATED SUGAR COMPANY,
LLC (“Amalgamated”), complains and alleges as follows:




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                                NATURE OF THE ACTION
         1.     This is a claim under Title I of the Americans with Disabilities Act of 1990 to
correct unlawful employment practices of the basis of disability and to make Plaintiff whole.
         2.     Plaintiff is a qualified individual with a physical impairment, which
substantially limits him in one or more major life activities.
         3.     Defendant discriminated against Plaintiff in the terms, conditions and
termination of his employment because of his disability.


                               JURISDICTION AND VENUE
         4.     This Court has jurisdiction over the subject matter of this complaint pursuant to
28 U.S.C. § 1331. This action is authorized and instituted pursuant to Section 107(a) of the
Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12117(a).
         5.     The Court has jurisdiction over Plaintiff’s state law claims set forth in this
complaint pursuant to its supplemental jurisdiction to hear related state law claims under 28
U.S.C. § 1367(a). Both the federal and state law claims alleged herein arose from a common
nucleus of operative fact, the state action is so related to the federal claim that they form part
of the same case or controversy, and the actions would ordinarily be expected to be tried in one
judicial proceeding.
         6.     The employment practices alleged herein were committed in the District of
Idaho.


                                           PARTIES
         7.     Plaintiff Cory Clifton is a resident of the State of Idaho.
         8.     Defendant The Amalgamated Sugar Company, LLC is a limited liability
company, licensed to do business in the state of Idaho, with its primary place of business being
Twin Falls County, Idaho.
         9.     Defendant employs and has employed during the relevant periods more than 15
employees and was engaged in an industry affecting agricultural commerce. At all material
times, Defendant was and is an employer within the meaning of 42 U.S.C. § 12111(5)(A) and
Idaho Code § 67-5092(6).


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        10.     Plaintiff is a qualified individual with a disability for purposes of 42 U.S.C. §
12112(a), and a disabled person for purposes of Idaho Code § 67-5901, et seq. in that he has
been clinically diagnosed as deaf.
        11.     Amalgamated recruited employees for the position of Factory Welder using
Craiglist advertising, as well as advertising with the Idaho Labor Board.
        12.     Despite his disability, at all relevant times Clifton was able to and qualified for
the positions advertised by Amalgamated. He was an experienced welder who was fully able
to perform the essential functions of the positions advertised by Amalgamated.


                            PROCEDURAL REQUIREMENTS
        13.     Clifton has filed charges of unlawful employment practices with the Idaho
Human Rights Commission, and complaints with the Equal Employment Opportunity
Commission (“EEOC”) raising the issues complained of herein.
        14.     Clifton received a Notice of Right to Sue from the EEOC authorizing Plaintiff
to commence a civil action. Clifton has filed this complaint within 90 days from the date he
received her notice authorizing him to bring action. A true and correct copy of the Notice of
Right to Sue letter is attached hereto as EXHIBIT A.

                             FIRST CLAIM OF RELIEF
                          (DISABILITY DISCRIMINATION)
              (TITLE I OF THE AMERICANS WITH DISABILITIES ACT)
        15.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
through 14 as if fully set forth herein.
        16.     Clifton applied with Amalgamated on four (4) occasions, over a three (3) year
period as a Factory Welder.
        17.     The first application was disregarded without contact of any kind by
Amalgamated.
        18.     The second application was again disregarded without contact of any kind by
Amalgamated.
        19.     The third application was again disregarded without contact of any kind by
Amalgamated.


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        20.     Clifton applied for the fourth time on April 6, 2016.
        21.     Clifton participated in an interview at Amalgamated on April 13, 2016.
        22.     During the interview, Clifton provided, through a sign language interpreter, a
background of his experience and familiarity with reading blue prints.
        23.     Discussions about Clifton’s disability was included in the interview process.
Specifically, inquiry was made about “How will you know what is going on around you.”
Clifton is able to visually see what is happening around him.
        24.     The interview went well and Clifton was asked to perform an application
welding test. Clifton was advised that a representative of Amalgamated would be calling to
schedule this test.
        25.     On April 22, 2016, Clifton received a denial of employment letter from
Amalgamated, a copy of which is attached hereto as EXHIBIT B.
        26.     Clifton was never given the opportunity to complete the application process and
proceed through the welding test as discussed during the interview process.
        27.     Amalgamated failed to make any suggestions for accommodating Clifton’s
disabilities.
        28.     Amalgamated failed to engage in the interactive process with Clifton to find a
reasonable accommodation for his disabilities.
        29.     Amalgamated bears the responsibility for the breakdown of the interactive
process.
        30.     Amalgamated’s actions in refusing to engage in the interactive process with
Clifton, as described herein, constitutes discrimination in violation of the Americans with
Disabilities Act.
        31.     As a direct and proximate cause of Amalgamated’s unlawful conduct, Clifton
has suffered damages in the form of lost income, lost employment benefits, and general
emotional suffering in an amount in excess of $50,000.00 to be proven with specificity at trial.
        32.     Clifton is further entitled to recover his attorney fees and costs incurred in
prosecuting this action pursuant to 42 U.S.C. §§ 2000e-5(k) and 12117.
        33.     Clifton reserves this paragraph for the inclusion of a claim for punitive damages
pursuant to 42 U.S.C. §§ 1981a(a)(2),(d)(1)(B).


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                               SECOND CLAIM OF RELIEF
                                 (Disability Discrimination)
                                 (Idaho Human Rights Act)

         34.     Clifton incorporates by reference the allegations of paragraphs 1 through 33 as
if fully set forth herein.
         35.     Amalgamated’s acts as alleged herein were motivated by and due in substantial
part to Clifton’s disability, Clifton’s record of disability, and Amalgamagted’s perception that
Clifton is disabled and constitute unlawful employment practices under Idaho Code § 67-5909.

                              FOURTH CLAIM OF RELIEF
               (Negligent and/or Intentional Infliction of Emotional Distress)

         36.     Clifton incorporates by reference the allegations of paragraphs 1 through 35 as
if fully set forth herein.
         37.     By its actions detailed herein above, Amalgamated has negligently and/or
intentionally caused Clifton to suffer extreme mental anguish and emotional distress.
         38.     Clifton has endured physical manifestations of the emotional distress caused by
Amalgamated’s actions.
         39.     As a result of Amalgamated’s negligent and/or intentional infliction of severe
emotional distress, Clifton has suffered damages in an amount to be proven with specificity at
trial.
         40.     Clifton is entitled to an award of attorney fees and costs pursuant to Idaho Code
§§ 12-120 and 12-121.
         41.     Amalgamated’s conduct as alleged herein was reckless and willful constituting
an extreme deviation from reasonable standards of care.
         42.     Clifton hereby reserves this paragraph for the inclusion of a claim for punitive
damages pursuant to Idaho Code § 6-1604.




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                                  PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays for Judgment, Order and Decree of this Court as
follows:
       1.      For judgment of the Court awarding Clifton damages for Amalgamated’s
violations of the ADA, violations of Idaho Human Rights Act, breach of the implied covenant
of fair dealing, and negligent and/or intentional infliction of emotional distress;
       2.      For prejudgment interest on all damages recovered at the rate set forth within
Idaho Code § 28-22-104;
       3.      For Clifton’s reasonable attorney fees and costs incurred in prosecuting this
action; and
       4.      For such other and further relief as this Court deems just and necessary.


                              DEMAND FOR JURY TRIAL
       Plaintiff hereby demands a jury trial pursuant to Federal Rule of Civil Procedure 38(b).


       DATED this 10th day of September, 2018.
                                       WILLIAMS, MESERVY & LOTHSPEICH, LLP


                                        /s/           Kimberly L. Williams
                                       KIMBERLY L. WILLIAMS
                                       Attorney for Plaintiff




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                                      VERIFICATION


STATE OF IDAHO )
                 )ss.
County of Jerome )

       CORY CLIFTON,being first duly sworn on oath, deposes and says: I am the Plaintiff
in the above entitled action; I have read the within and foregoing Complaint, know the
contents thereof, and believe the facts therein stated to be true.




                                              'COR^LIFTON
       SUBSCRIBED AND SWORN to before me this |0                 day of               2018.




                                                       NOTARY PUBLIC for Idaho
                                                       Residing at   H                Idaho
                                                       Commission expires 5- 2.S- \


                  ^                     ^




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